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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  --------------------------------------------------------X
  JANE DOE,

                            Plaintiff,
                                                                     DEFAULT JUDGMENT
          - against -                                                CV 21-1232 (GRB) (ST)

  LONG ISLAND MOTORS, INC., and
  DAVID DELVECCHIO,

                             Defendants.
  --------------------------------------------------------X

          An Order for Default Judgment of the Honorable Gary R. Brown, United States District

  Judge, having been filed on December 15, 2021, granting Plaintiff’s motion for a default

  judgment, and awarding plaintiff $18,402.14 in principal damages, $4,973.50 in attorneys’ fees,

  and $585.52 for costs; and an Order Adopting Report and Recommendations of the Honorable

  Gary R. Brown, United States District Judge, having been filed on July 7, 2022, adopting the

  June 8, 2022 Report and Recommendation of United States Magistrate Judge Steven Tiscione,

  awarding Plaintiff $175,000 in emotional damages and $125,000 in punitive damages, and

  respectfully directing the Clerk of the Court to enter judgment and close this case, it is

          ORDERED AND ADJUDGED that Plaintiff’s motion for a default judgment against

  Defendants Long Island Motors, Inc., and David Delvecchio is granted; that Plaintiff Jane Doe is

  awarded a total default judgment in the amount of $323,961.16 against Defendants Long Island

  Motors, Inc., and David Delvecchio; and that this case is closed.



  Dated: July 11, 2022
         Central Islip, New York

                                                                     BRENNA B. MAHONEY
                                                                     CLERK OF THE COURT
                                                              BY:    /S/ JAMES J. TORITTO
                                                                     DEPUTY CLERK
